 PER CURIAM. This cause having heretofore been sub-mittéd to the Court on Certified Direct Conflict of Decisions pursuant to Article V, Section" 3(b)(4), Florida Constitution (1980), and Florida Rule of Appellate Procedure 9.030(a)(2)(A)(vi); and the Court having determined that it should decline t'o exercise jurisdiction, it is ordered that the Petition for Review is- denied; No Motion for Rehearing will be entertained by the Court. See Fla. R. App. P. 9.330(d)(2). LEMS, CANADY, POLSTON, and LAWSON,'JJ., concur. PARIENTE, J., .dissents with an opinion, in .which LABARGA, C.J., and QUINCE-, J., concur. „ . ' 